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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                             )
IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )
VENTILATOR PRODUCTS                          )       Master Docket: Misc. No. 21-1230
LITIGATION                                   )
                                             )
This Document Relates to:                    )       MDL No. 3014
Dorfman v. Preferred Homecare, et al.,       )
Civ. No. 23-1745-CDS-NJK (D. Nev. )          )
                                             )
                                             )
                                             )
                                             )


                                            ORDER

        AND NOW, this 2nd day of October, 2024, no party having objected (see ECF Nos. 2960,

2986), IT IS HEREBY ORDERED that Plaintiff Scott Dorfman’s Motion to Remand (ECF No.

2919) is GRANTED. The civil action captioned Dorfman v. Preferred Homecare, et al., Civ. No.

23-1745-CDS-NJK (D. Nev.), shall be remanded forthwith to the United States District Court for the

District of Nevada.



                                                     /s/ Joy Flowers Conti
                                                     Joy Flowers Conti
                                                     Senior United States District Court Judge
